

FILED: APRIL 5, 2001


IN THE SUPREME COURT OF THE STATE OF OREGON


STATE OF OREGON,

Respondent on Review,


	v.


DOUGLAS EUGENE ALDRICH,

Petitioner on Review.


(CC 94CR10191TM; CA A85846; SC S42780)


	On petition for review filed November 21, 1995.*


	Eric Johansen, Deputy Public Defender, Salem, filed the
petition for review.  With him on the petition was Sally L.
Avera, Public Defender.


	No response contra.


	Before Carson, Chief Justice, and Gillette, Durham, Leeson,
and Riggs, Justices.**


	MEMORANDUM OPINION


	The petition for review is allowed.  The decision of the
Court of Appeals is vacated.  The case is remanded to the Court
of Appeals for further consideration in light of State v.
Fleetwood, 331 Or 511, 16 P3d 503 (2000).


	*Appeal from Deschutes County Circuit Court, Alta J. Brady, Judge. 137 Or App 439, 904 P2d 1093 (1995).


	**Kulongoski, and De Muniz, JJ., did not participate in the
consideration or decision of this case.

